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                  IN THE UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

   U NITED S TATES OF A MERICA
                                                        Case No. 1:23-CR-047-MHC
   v.
   K RISTOPHER K NEUBUHLER


                  NOTICE OF SERVICE OF RULE 45 SUBPOENA

       Pursuant to 28 U.S.C. § 3015(b) and Rules 26 and 45 of the Federal Rules of

Civil Procedure, the United States will serve a subpoena on Julia Sims requiring

the production of specified documents.

       A copy of the attached subpoena will be served on Julia Sims via overnight

mail in Roswell, GA1.

Dated: January 31, 2024.

                                            RYAN A. BUCHANAN
                                            UNITED STATES ATTORNEY

                                            /s/ Vivieon K. Jones
                                            Vivieon K. Jones
                                            Assistant U.S. Attorney
                                            Georgia Bar No. 143033
                                            75 Ted Turner Drive SW, Suite 600
                                            Atlanta, Georgia 30303

   1 Pursuant to Fed. R. Crim. P. 49.1, the home address has been redacted to the city and state

to prevent public disclosure. Upon request of the Court, the full address will be provided in
camera.
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                                      Telephone: (404) 581-6312
                                      E-mail: vivieon.jones@usdoj.gov




                              Certificate of Service

      This is to certify that, on January 31, 2024, I have electronically filed the
foregoing document using the Court’s CM/ECF system, which sent an
electronic notice of filing with a link to the document to all parties of record.


                            /s/Vivieon K. Jones
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AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ District of
                                                                           of Georgia
                                                                              __________

                    United States of America                                  )
                               Plaintiff                                      )
                                  v.                                          ) Criminal
                                                                                   Civil Action No.           1:23-cr-00047-MHC-JEM
                     Kristopher Kneubuhler                                    )
                                                                              )    (If the action is pending in another district, state where:
                              Defendant                                       )           __________ District of __________                )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:    Julia Sims, xxxxxxxxxxxxxx
                    oooooooooooooo
                    300 Anchorage Place, Roswell GA 30076


    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    ’
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See attachment Exhibit A. If you have any questions, contact: Matthew Rouse
           at 404-581-6277.



  Place: U.S. Attorney's Office - Northern District of Georgia                          Date and Time:
           Attention: Matthew Rouse                                                                           02/20/2024 5:00 pm
           75 Ted Turner Drive SW, Suite 600, Atlanta, GA 30303

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date:         01/31/2024

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party) United States of America
                                                                        , who issues or requests this subpoena, are:
Vivieon K. Jones, Assistant United States Attorney
75 Ted Turner, S.W. Suite 600, Atlanta, GA 30303
vivieon.jones@usdoj.gov (404) 581-6312
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    AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


Criminal
    Civil Action No.         1:23-cr-00047-MHC-JEM

                                                         PROOF OF SERVICE
                         (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

              This subpoena for (name of individual and title, if any)            Julia Sims
    was received by me on (date)               01/31/2024          .

              ✔ I served the subpoena by delivering a copy to the named person as follows:
              ’                                                                                                             Julia Sims
               at m
                  X  mAnchorage
                  300X XmXmXmXPlace,
                                mX m
                                   X Roswell GA 30076
                                                                                                   on (date)         02/01/2024            ; or

              ’ I returned the subpoena unexecuted because:
                                                                                                                                                          .

              Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
              tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
              $                 0.00                  .

    My fees are $                   0.00              for travel and $              0.00            for services, for a total of $                0.00    .


              I declare under penalty of perjury that this information is true.


    Date:            01/31/2024
                                                                                                       Server’s signature


                                                                                              Matthew Rouse, Investigator
                                                                                                     Printed name and title
                                                                            75 Ted Turner Drive, S.W. Suite 600, Atlanta, GA 30303



                                                                                                        Server’s address

    Additional information regarding attempted service, etc:




             Print                         Save As...                  Add Attachment                                                             Reset
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 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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                                    NOTICE

   The accompanying subpoena requires the production by your institution of
the records listed thereon on or before the specified date and in the manner
prescribed by the subpoena.

   Pursuant to the Right to Financial Privacy Act, Title 12, United States Code,
Section 3415, financial institutions may NOT be reimbursed for "records obtained
pursuant to section ...3413(a) through (h) of this title." Section 3413(e) reads,
"Disclosure pursuant to Federal Rules of Criminal Procedure or other
comparable rules of other courts. Nothing in this chapter shall apply when
financial records are sought by a Government authority under the Federal Rules
of Civil or Criminal Procedure or comparable rules of other courts in connection
with litigation to which the Government authority and the customer are parties."

   The general principle is that 'there is a public obligation to provide evidence
and that this obligation persists no matter how financially burdensome it may be.
(Hurtado v. United States, 410 U.S. 578, 589 (1973)). Therefore, you will not be
reimbursed for costs associated with production of the requested documents.



                                     By: Vivieon K. Jones
                                     Assistant U.S. Attorney
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Exhibit A – Julia Sims




                                   EXHIBIT A

                                INSTRUCTIONS

      1. For purposes of this subpoena or document request, the United States of
America will accept production of electronic or hard copies of responsive
documents in lieu of a personal appearance or submitting original for inspection
and copying.

      2. Except as otherwise permitted by law, production of responsive
documents must be made in full, without abbreviation, redaction, or expurgation,
and must include all attachments, appendices, exhibits, cover sheets, or facsimile
transmission sheets.

       3. If any responsive document is to be withheld or redacted on the basis of
a claim of privilege or work product, your response must provide the information
required by Federal Rule of Civil Procedure 26(b)(5)(A)(i) and (ii).

      4. This subpoena or document request seeks documents for the period
beginning January 1, 2023 through and including the date of complete
production in response.
                         DOCUMENT REQUESTS

   A. Vehicle loan / lease applications and agreements, including but not limited
      to those for a 2022 Mercedes Benz GLE VIN# 4JGFB5KB3NA590420.
   B. Documentation sufficient to verify the source of funds used in the purchase
      a 2018 Ford Transit Van VIN# 1FTYR1YM9JKA92222 and a 2018 Ford
      Transit Van VIN# 1FTYR1ZM8JKA43155.
   C. Documentation sufficient to detail any transfer / sale / repossession etc. of
      a 2018 MERCEDES BENZ E CLASS VIN# WDDZF8KB7JA215864.
   D. Pay stubs or other statements showing your individual income.
   E. Account statements for any personal or business bank accounts you have.
   F. Life Insurance policy statements.
   G. Investment / retirement account statements.
   H. Cryptocurrency exchange account statements
